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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


  DARRELL DEAN PROUTY,                               Case No. 21‐CV‐2438 (PJS/DTS)

                       Plaintiff,

  v.                                                              ORDER

  NANCY JOHNSON, DHS‐MSOP
  Director; JODI HARPSTEAD, DHS
  Commissioner; STEVE SAJDAK,
  Program Manager; JESSICA JOYAL; SUE
  SWANSON; JEREMY WUORI; DAVE
  BORCHARDT: KRISTI WAGNER;
  DAVID MILES; DANA OSBORNE; DEB
  K. BARRON; JULIE SAJDAK; KATIE
  MARVEL; TAMMY SHELTON, A.G.S.;
  REBECCA DEYOUNG, A.G.S.; and all
  others employed at 1111 Hwy #73, Moose
  Lake, MN 55767,

                       Defendants.




       Plaintiff Darrell Dean Prouty, a client of the Minnesota Sex Offender Program

(“MSOP”), presents a hodgepodge of claims regarding the legality of conditions at

MSOP. Prouty lacks standing to bring many of the claims, and the lone claim that

Prouty has standing to bring has not been viably pleaded. Accordingly, this action will

be dismissed without prejudice. See Fed. R. Civ. P. 12(h)(3) (“If the court determines at

any time that it lacks subject‐matter jurisdiction, the court must dismiss the action”); 28



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U.S.C. § 1915(e)(2)(B) (authorizing preservice dismissal of an action where an applicant

for in forma pauperis status submits a complaint that is frivolous, malicious, or fails to

state a claim on which relief may be granted).

          The claims presented by Prouty in the complaint can be grouped into roughly

three categories. First, Prouty alleges that no one employed by MSOP has the necessary

educational credentials to work at that facility. Second, Prouty alleges that MSOP

officials have permitted other clients to engage in criminal behavior — specifically, the

forgery of legal documents by one client, and the “viewing of naked children on TV” by

another client. Compl. at 4 [ECF No. 1]. Third, Prouty alleges that MSOP officials have

engaged in “fraudulent room searches” and thereby infringed upon his constitutional

rights.

          Prouty lacks standing to bring all of the first group of claims presented in the

complaint and most of the second group of claims. “Standing to sue is a doctrine rooted

in the traditional understanding of a case or controversy.” Spokeo, Inc. v. Robins, 578

U.S. 330, 338 (2016). Standing consists of three elements: “[(1)] an injury in fact, (2) that

is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be

redressed by a favorable judicial decision.” Id. “To establish injury in fact, a plaintiff

must show that he or she suffered ‘an invasion of a legally protected interest’ that is

‘concrete and particularized’ and ‘actual or imminent, not conjectural or hypothetical.’”

Id. at 339 (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)). The plaintiff bears


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the burden of establishing standing and must clearly allege facts demonstrating each

element. Id. at 338.

       Prouty does not adequately allege how MSOP employees not possessing medical

degrees or doctorates, by itself, amounts to an “injury in fact” that is legally redressable;

no specific, particularized harm is alleged to have befallen Prouty from this alleged lack

of educational qualifications by MSOP employees. Nor has Prouty adequately alleged

— with one exception, described below — how the unlawful behavior of other MSOP

clients has resulted in a particularized harm to him. Prouty cannot bring claims in

federal court merely on the grounds that he believes something to be wrong; he must

plausibly allege that he, himself, has suffered an injury that is fairly traceable to the

defendants named to the litigation. See Spokeo, 578 U.S. at 338. The complaint

submitted by Prouty in this matter largely fails to do this.

       Only in one respect does Prouty present a claim that he has standing to bring.

According to Prouty, MSOP officials have engaged in “fraudulent room searches” in

violation of his constitutional rights. Compl. at 4. Although the complaint is far from

clear, it seems that Prouty believes these searches to have been initiated through the

instigation of the MSOP client who is alleged to have forged fraudulent legal

documents, with the implication that one of these phony documents resulted in the

unlawful search for which Prouty now seeks redress. See id. at 3‐4.




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       Although Prouty has standing to bring a claim pursuant to 42 U.S.C. § 1983

premised upon an unlawful search, the illegal‐search claim actually pleaded by Prouty

is woefully deficient. To begin, the factual allegations in the complaint are entirely

conclusory. Prouty states that the search of his room conducted by MSOP officials is

“fraudulent” without alleging facts that, if proved true, would establish the impropriety

of the search.1 Compl. at 4. Conclusory allegations in a pleading are not entitled to the

ordinary presumption of truth. See Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). Even if the

factual allegations were not wholly conclusory, Prouty has not alleged which of the

many MSOP officials named as defendants to this lawsuit are responsible for the

allegedly unlawful search. “Liability under § 1983 requires a causal link to, and direct

responsibility for, the deprivation of rights.” Madewell v. Roberts, 909 F.2d 1203, 1208

(8th Cir. 1990). The complaint does not establish the direct responsibility of any specific

defendant, and thus Prouty cannot establish the liability of any specific defendant

under § 1983 for the purportedly unlawful search.

       This lawsuit will be dismissed without prejudice for those reasons. See 28 U.S.C.

§ 1915(e)(2)(B); Fed. R. Civ. P. 12(h)(3). Finally, a warning: Prouty has initiated thirteen


1 The closest that Prouty comes to a non‐conclusory factual allegation regarding the
legality of the search is the suggestion that the search was conducted “[with]out Court
order warrants.” Compl. at 5. Even if true, however, the fact that MSOP officials lacked
a warrant to conduct a search of Prouty’s room would not establish that a constitutional
violation had occurred. See, e.g., United States v. Senty‐Haugen, 17‐CR‐0182 (JNE/LIB),
2017 WL 6543824, at *5‐8, 12‐13 (D. Minn. Nov. 21, 2017), adopting report and
recommendation, 2017 WL 6550674 (D. Minn. Dec. 21, 2017).
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lawsuits in the District of Minnesota this year, and this action is one of five launched by

Prouty in November 2021 alone. Several of these cases are duplicative, and many have

already been dismissed prior to service (with a few of the most recent cases still

awaiting preservice review). And this action is not the first among that group that

could reasonably be deemed at least partly, if not wholly, frivolous. The right of access

to the courts does not encompass the right to file duplicative, abusive, or frivolous

litigation. See In re Tyler, 839 F.2d 1290, 1293 (8th Cir. 1988). If Prouty persists with

needlessly vexatious behavior, he will be restricted from filing new lawsuits in this

District while unrepresented absent prior authorization of a judicial officer.

                                           ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT:

       1.      This matter is DISMISSED WITHOUT PREJUDICE.

       2.      The application to proceed in forma pauperis of plaintiff Darrell Dean

               Prouty [ECF No. 2] is DENIED.

       LET JUDGMENT BE ENTERED ACCORDINGLY.

  Dated: November 10, 2021                        s/Patrick J. Schiltz_________________
                                                  Patrick J. Schiltz
                                                  United States District Judge




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